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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

KENNETH DWAYNE HARTH, SR.                                                                 PLAINTIFF

v.                                                                                   No. 4:20CV47-RP

MISSISSIPPI DEPARTMENT
OF CORRECTIONS, ET AL.                                                                 DEFENDANTS


                     ORDER DENYING PLAINTIFF’S MOTION [49]
               TO REISSUE PROCESS, DISMISSING WITHOUT PREJUDICE
              DEFENDANT OFFICERS MARVEL SIMPSON AND MS. PAYNE

        This matter comes before the court on the plaintiff’s motion [49] to reissue process as to

defendant Officers Marvel Simpson and Ms. Payne. The United States Marshal Service was unable

to locate these defendants with the information available to them, and the court ordered [43] the

plaintiff to provide valid mailing addresses for these defendants within 21 days. That deadline has

passed, and Mr. Harth has not done so. For this reason, the plaintiff’s motion [49] to reissue process

is DENIED, and defendants Marvel Simpson and Ms. Payne are DISMISSED without prejudice

from this suit for want of valid service of process.

        SO ORDERED, this, the 3rd day of November, 2021.


                                                 /s/ Roy Percy
                                                 UNITED STATES MAGISTRATE JUDGE
